        Case 2:19-cv-00245-DB-PMW Document 10-5 Filed 10/04/19 Page 1 of 5




Giovanni Marotta                                                       [ ] This is a private record
Name


1717 Pennsylvania Avenue NW Suite 1025                              FILED IN UNITED STATES DISTRICT
                                                                        COURT, DISTRICT OF UTAH
Address

Washington D.C. 20006                                                        OCT O4 2019
City, State, Zip
                                                                      D.MARKJONES,CLERK
+1-202-559-9148                                                     BY.,., __rra;;m=.:;;:;;-;::;:;r,----
Phone                                                                         oEPUlY CLERK
                                                       Check your email. You will receive information and
giovanni.marotta@childabductioncourt.org               documents at this email address.


Email

I am [ X ] Plaintiff/Petitioner          [ ] Defendant/Respondent
     [ ] Plaintiff/Petitioner's Attorney [ ] Defendant/Respondent's Attorney (Utah Bar#: _ _ __,


                   In the [ X] District     [ ] Juvenile      [ ] Justice      Court of Utah



Court Address: 351 South West Temple, Rm. 1.100 Salt Lake City, Utah 84101


                                                              Motion to

STEPHAN SCHURMANN                                             Compel Compliance with Subpoena

Plaintiff/Petitioner
                                                              (name of motion)
V.
                                                              [ X] Hearing Requested

JUBILIE ANQUI                                                 Case Number 2: 19-cv-00245
Defendant/Respondent


                                                              Judge Dee Benson




 1.         I ask the court to enter an order as follows:
           (Write what you want the court to order.)




 1101 GEJ Approved April 16, 2018 /                        Motion                                          Page 1 of 5
 Revised May 1, 2019
      Case 2:19-cv-00245-DB-PMW Document 10-5 Filed 10/04/19 Page 2 of 5




Seeks an order compelling Jubilie Anqui, Jonathan Tedrick, and Bradley Carr to
respond to a Subpoena 1 and provide information including to reproduce a LEGALLY
VALID CHILD CUSTODY ORDER Respondent Anqui manifest to have over D.S.S.,
and all Adoption Documents they may have (all Respondents) in their possession
regarding the threatened adoption and name change of Petitioner's child D.S.S.



2.         I ask for this order because:
           (Explain why you want the court order. Attach additional sheets if needed.)
           According to Utah Rule of Civil Procedure section 45 subsection e (2) is established that
           "(...)the subpoena must be allowed at least 14 days after service to comply". It has
           been more than 60 days, more than enough reasonable time Respondents has had to
           be able to comply with the law. In the same token, subsections (g) and (h)2 from the
           same Rule established the consequences of failure by any person in not obeying a
           Subpoena.
           In consequence, not complying with a Subpoena Request is to perform the typically,
           forbidden, and unlawful conduct of Contempt of Court. Described in Title 78B Chapter 6
           Part 3 Section 301-subsection 10, and 303 Utah Code



3.         [X ] The motion is supported by the law because:
           (List any statutes, ordinances, rules or appellate opinions that support/oppose the motion. For
           example, Utah Code 15-1-201, or Utah Rules of Civil Procedure 67. Explain why they support the
           motion.)
           Utah Rule of Civil Procedure section 45 subsection e(2), (g), (h), Utah Code Title
           78B Chapter 6 Part 3 Section 301-subsection 10, and section 303 3 .


1 Filed   on July 22nd 2019 (Exhibit A)

2Rule 45 Subpoena: (g) Contempt. Failure by any person without adequate excuse to obey a subpoena served upon

that person is punishable as contempt of court. (h) Procedure when witness evades service or fails to attend. If a
witness evades service of a subpoena or fails to attend after service of a subpoena, the court may issue a warrant to
the sheriff of the county to arrest the witness and bring the witness before the court.


3788-6-303.       Warrant      of      attachment       or     commitment       order     to      show      cause.
If the contempt is not committed in the immediate view and presence of the court or judge, a warrant of attachment
may be issued to bring the person charged to answer. If there is no previous arrest, a warrant of commitment may,
upon notice, or upon an order to show cause, be granted. A warrant of commitment may not be issued without a
previous attachment to answer, or a notice or order to show cause.




1101 GEJ Approved April 16, 2018 /                              Motion                                      Page 2 of 5
Revised May 1, 2019
     Case 2:19-cv-00245-DB-PMW Document 10-5 Filed 10/04/19 Page 3 of 5




4.       [X] I request a hearing.
         [] I do not request a hearing.

5.       [ X] I have attached the following documents in support of this motion:

         MOTION TO COMPEL COMPLIANCE WITH SUBPOENA

         dated October 2nd 2019



I declare under criminal penalty under the law of Utah that everything stated in this document is true.

Signed at Washington D.C. 20006 (city, and state or country).




                                     ·,.;/!)~
                                       f'




Signature • __________
Printed Name • Giovanni Marotta

Date • October 2 2019
                    nd




Notice to responding party                   ---7-A~i~;para la pa-rte que responde ________[
You have a limited amount of time to                      i Su tiempo para responder a esta moci6n
respond to this motion. In most cases, you I es limitado. En la mayoria de casos
must file a written response with the court           1
                                                      1     debera presentar una respuesta escrita
                                                      1

and provide a copy to the other party:                      con el tribunal y darle una copia de la
  • within 14 days of this motion being                     misma a la otra parte:
    filed, if the motion will be decided by a                 • dentro de 14 dias del dia que se
    judge, or                                                   presenta la moci6n, si la misma sera
  • at least 14 days before the hearing, if                     resuelta por un juez, o
    the motion will be decided by a                           • por lo menos 14 dias antes de la
    commissioner.                ________________________       audiencia, siJa misma sera resuelta

1101 GEJ Approved April 16, 2018 /                        Motion                                   Page 3 of 5
Revised May 1, 2019
      Case 2:19-cv-00245-DB-PMW Document 10-5 Filed 10/04/19 Page 4 of 5




                              -------------------,       ·-·--   ----------------·-------                                      -------··----------~
                                                                   por un comisionado.
In some situations a statute or court order
may specify a different deadline.                         En algunos casos debido a un estatuto o a
                                                          una orden de un juez la fecha limite podra
If you do not respond to this motion or                   ser distinta.
attend the hearing, the person who filed
the motion may get what they requested.                   Si usted no responde a esta moci6n ni se
                                                          presenta a la audiencia, la persona que
See the court's Motions page for more                     present6 la moci6n podrf a recibir lo que
information about the motions process,                    pidi6.
deadlines and forms:
www.utcourts.gov/howto/filing/motions                     Vea la pagina del tribunal sobre Mociones
                                                          para encontrar mas informaci6n sobre el
                                                          proceso de las mociones, las fechas
                                                          limites y los formularios:
                                                          www.utcourts.gov/howto/filing/motions

  Finding help                                         C6mo encontrar ayuda legal
  The court's Finding Legal Help web page            1 La pagina de la internet del tribunal C6mo
  (www.utcourts.gov/howto/legalassist/)              ' encontrar ayuda legal
  provides information about the ways you              (www.utcourts.gov/howto/legalassist/)
  can get legal help, including the Self-Help          tiene informaci6n sobre algunas maneras
  Center, reduced-fee attorneys, limited               de encontrar ayuda legal, incluyendo el
i legal help and free legal clinics.                   Centro de Ayuda de los Tribunales de


L_         ---------------·------------------- -
                                                       Utah, abogados que ofrecen descuentos u
                                                       ofrecen ayuda legal limitada, y talleres
                                                       legales gratuitos.
                                                          ·----   -- -    ----   -- ------   ----------   --------·   ---·-------- --------- - - - - - -




 1101 GEJ Approved April 16, 2018 /                              Motion                                                                         Page 4 of 5
 Revised May 1, 2019
       Case 2:19-cv-00245-DB-PMW Document 10-5 Filed 10/04/19 Page 5 of 5




                                                   Certificate of Service
I certify that I filed with the court and am serving a copy of this Motion on the following people.

                                                                                                           Service
     Person's Name                                  Service Method                       Service Address    Date
                                [   l
                                    Mail
                                [   l
                                    Hand Delivery
                                [   l
                                    E-filed
                                [   l
                                    Email
                                [ ] Left at business (With person in charge
                                        or in receptacle for deliveries.)
                                [ ] Left at home (With person of suitable
                                        age and discretion residing there.)
                                []       Mail
                                [ ]      Hand Delivery
                                [ ]      E-filed
                                []       Email
                                [ ]      Left at business (With person in charge
                                        or In receptacle for deliveries.)
                                [ ] Left at home (With person of suitable
                                        age and discretion residina there.)
                                [l       Mail
                                [ ]      Hand Delivery
                                [ ]      E-filed
                                []       Email
                                [ ]      Left at business (With person in charge
                                        or in receptacle for deliveries.)
                                 [ ] Left at home (With person of suitable
                                        age and discretion residing there.)


                                                           Signature        •
Date
                                                         Printed Name
                                                                                ------------------




  1101 GEJ Approved April 16, 2018 /                                            Motion                       Page 5 of 5
  Revised May 1, 2019
